       Case 1-18-46213-ess            Doc 19       Filed 01/02/19   Entered 01/03/19 12:19:51




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                                   Chapter 13

KEVIN PETTAWAY,                                                         Case No. 18-46213-ess

                                    Debtor.
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     ORDER EXTENDING TIME TO FILE CREDIT COUNSELING CERTIFICATE

        WHEREAS, on October 29, 2018, Kevin Pettaway filed a petition for relief under

Chapter 13 of the Bankruptcy Code; and

        WHEREAS, on October 29, 2018, the Debtor filed a Request for 30-Day Temporary

Waiver of the Credit Counseling Requirement, certifying that the Debtors require additional time

to obtain credit counseling, and stated exigent circumstances that would merit a thirty day

extension to file a credit counseling certificate (the “Credit Counseling Certificate”).

        NOW, THEREFORE, based upon the entire record, it is hereby

        ORDERED, that the Debtor’s time to file a Credit Counseling Certificate, and a copy of

any debt repayment plan, if such plan is created as part of credit counseling, is extended to

February 4, 2019.




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 Dated: Brooklyn, New York                                                  Elizabeth S. Stong
        January 2, 2019                                              United States Bankruptcy Judge
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TO:

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